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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE
 AVIATION CAPITAL PARTNERS, LLC                     )
 d/b/a SPECIALIZED TAX RECOVERY,                    )
                                                    )
                 Plaintiff,                         )   C.A. No. 22-1556-RGA
                                                    )
         v.                                         )   JURY TRIAL DEMANDED
                                                    )
 SH ADVISORS, LLC d/b/a SITUS HAWK,                 )
                                                    )
                 Defendant.                         )
                                     NOTICE OF APPEAL

       Notice is hereby given that Aviation Capital Partners, LLC d/b/a Specialized Tax

Recovery (“Specialized Tax Recovery” or “STR”), Plaintiff in the above-named case, hereby

appeals to the United States Court of Appeals for the Federal Circuit from the final judgment

entered in this action on August 18, 2023 (D.I. 35), and from all other adverse orders, opinions,

decisions and rulings in this case underlying and/or relating to that judgment, including but not

limited to, this Court’s Memorandum of Opinion (D.I. 34) and the Court’s Order denying

preliminary injunction on the same grounds (D.I. 33).

                                                    Respectfully submitted,
                                                    POTTER ANDERSON & CORROON LLP

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 Dated: September 11, 2023                          Attorneys for Plaintiff Aviation Capital
 11045696 / 22733.00001
                                                    Partners, LLC d/b/a Specialized Tax Recovery
